Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 1 of 32 PageID: 1456



   Charles M. Lizza                      OF COUNSEL:
   William C. Baton
   Sarah A. Sullivan                     Joseph M. O’Malley, Jr.
   SAUL EWING LLP                        Preston K. Ratliff II
   One Riverfront Plaza, Suite 1520      Bruce M. Wexler
   Newark, NJ 07102-5426                 PAUL HASTINGS LLP
   (973) 286-6700                        200 Park Avenue
                                         New York, NY 10166
   Attorneys for Plaintiffs              (212) 318-6000
   Sumitomo Dainippon Pharma Co., Ltd.
   and Sunovion Pharmaceuticals Inc.



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


   SUMITOMO DAINIPPON PHARMA             Civil Action No. 15-280 (SRC) (CLW)
   CO., LTD. and SUNOVION                Civil Action No. 15-281 (SRC) (CLW)
   PHARMACEUTICALS INC.,                 Civil Action No. 15-6401 (SRC) (CLW)
                                         (Consolidated)
                      Plaintiffs,
                                         (Filed Electronically)
         v.

   EMCURE PHARMACEUTICALS
   LIMITED, et al.,

                      Defendants.



       DECLARATION OF IMTIAZ YAKUB IN SUPPORT OF SUNOVION’S
         OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE THE
        DECLARATION AND TESTIMONY OF DR. STEPHEN G. DAVIES
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 2 of 32 PageID: 1457



      1.        I, Imtiaz Yakub, am an associate at the law firm of Paul Hastings LLP,

   600 Travis Street, 58th Floor, Houston, Texas 77002, counsel for Plaintiffs Sumitomo

   Dainippon Pharma Co., Ltd. and Sunovion Pharmaceuticals Inc. (collectively,

   “Sunovion”) in this matter. I make this declaration in support of Sunovion’s

   Opposition to Defendants’ Motion to Exclude the Declaration and Testimony of

   Dr. Stephen G. Davies.

      2.        On May 2, 2016 at 3:00 PM, the parties met and conferred via telephone

   for the purpose of narrowing the claim construction issues and finalizing the Joint

   Claim Construction and Prehearing Statement under L. Pat. R. 4.2(d). During the

   meet and confer, Sunovion tried to convince the Defendants to rely solely on the

   intrinsic record. Defendants adamantly maintained that they needed expert testimony

   to support their claim construction. In addition, during the meet and confer,

   Defendants refused to tell Sunovion whether they would call one or both of the

   experts identified in their April 29, 2016 draft Joint Claim Construction and

   Prehearing Statement.

      3.        Given Defendants’ unwillingness to forego reliance on expert testimony,

   Sunovion explained, during the meet and confer, that it would also rely on expert

   testimony to properly set forth the technology at issue and discuss the intrinsic

   evidence.

      4.        Attached as Exhibit 1 is a true and correct copy of excerpts from a brief

   submitted by InvaGen Pharmaceuticals, Inc. (“InvaGen”) in Civil Action No.

                                             -2-
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 3 of 32 PageID: 1458



   14-4042, docketed as D.I. 217 on June 22, 2015.

      5.          Attached as Exhibit 2 is a true and correct copy of excerpts from

   Sunovion’s Identification of Rebuttal Claim Construction Evidence, served on

   April 20, 2016.

      6.          Attached as Exhibit 3 is a true and correct copy of excerpts from

   Defendants Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical Industries

   Ltd.’s Identification of Supporting Intrinsic and Extrinsic Evidence They Intend to

   Rely Upon to Oppose Plaintiffs’ Proposed Constructions, served on April 20, 2016.

      7.          Attached as Exhibit 4 is a true and correct copy of excerpts from the

   draft Joint Claim Construction and Prehearing Statement sent by Defendants to

   Sunovion on April 29, 2016.

      8.          Attached as Exhibit 5 is a true and correct copy of an e-mail sent by

   Sunovion to Defendants on May 2, 2016.

      9.          Attached as Exhibit 6 is a true and correct copy of three e-mail

   correspondences between Sunovion and Defendants on May 4, 2016.

      10.         Attached as Exhibit 7 is a true and correct copy of excerpts from the

   transcript of the July 14, 2016 deposition of Dr. Steven W. Baldwin.


            I declare under penalty of perjury that the foregoing is true and correct.


    Dated         8/25/2016                             ______________________________
                                                        Imtiaz Yakub


                                                -3-
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 4 of 32 PageID: 1459




                          EXHIBIT 1
Case
 Case2:15-cv-00280-SRC-CLW
      2:14-cv-04042-SRC-CLW Document
                             Document101-1
                                      217 Filed
                                           Filed06/22/15
                                                 08/25/16 Page
                                                           Page15ofof13
                                                                      32PageID:
                                                                         PageID:8354
                                                                                 1460



   Salvatore Guerriero
   CAESAR RIVISE, PC
   1635 Market Street
   12th Floor - Seven Penn Center
   Philadelphia, PA 19103
   Tel: (215) 567-2010
   Email: <sal@crbcp.com>

   Attorneys for Defendants
   Camber Pharmaceuticals, Inc. and
   InvaGen Pharmaceuticals, Inc.

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

   ROXANE LABORATORIES, INC.                       :
                                                   :
                  Plaintiff,                       :
                                                   :   Civil Action No.
           v.                                      :   2:14-cv-04042-SRC-CLW
                                                   :
   CAMBER PHARMACEUTICALS, INC. and                :   Return Date: July 6, 2015
   INVAGEN PHARMACEUTICALS, INC.                   :
                                                   :
                  Defendants.                      :
                                                   :
                                                   :

        DEFENDANTS’ OPPOSITION TO PLAINTIFF ROXANE LABORATORIES, INC.’S
         MOTION TO STRIKE THE DECLARATION OF DR. LARRY L. AUGSBURGER
             ATTACHED TO DEFENDANTS’ RESPONDING MARKMAN BRIEF

   I.      INTRODUCTION

           Defendants respectfully submit this Opposition to Plaintiff’s Motion to Strike the

   Declaration of Dr. Larry L. Augsburger Attached to Defendants’ Responding Markman Brief

   (“Motion”).

           Defendants have maintained and will continue to maintain that the claim terms at issue in

   this case do not require expert testimony for purposes of claim construction. Under well-

   established Federal Circuit law, the hierarchy of evidence to be considered in construing claim
Case
 Case2:15-cv-00280-SRC-CLW
      2:14-cv-04042-SRC-CLW Document
                             Document101-1
                                      217 Filed
                                           Filed06/22/15
                                                 08/25/16 Page
                                                           Page86ofof13
                                                                      32PageID:
                                                                         PageID:8361
                                                                                 1461



   purported inconsistencies and admissions made between different editions of Augsburger’s

   Chapter. Defendants are not mind readers. Plaintiff complains about a situation of its own

   making. Defendants should not be penalized for Plaintiff’s misdoings and Plaintiff should not be

   rewarded for flouting the local patent rules.

          B.      The Extreme Sanction of Exclusion is Unwarranted Under the Law of the
                  Third Circuit

          Plaintiff seeks relief that is disproportional to the purported violation.         Striking a

   declaration due to a scheduling violation is an extreme sanction. Novartis Pharms. Corp. v.

   Actavis, Inc., 2013 U.S. Dist. LEXIS 182148, at *21 (D. Del. Dec. 23, 2013). Courts have

   discretion to decline to impose a sanction “if there was substantial justification for the non-

   disclosure, or if the non-disclosure was harmless.” ABB Air Preheater v. Regenerative Envtl.

   Equip. Co., 167 F.R.D. 668, 671 (D. NJ. 1996). “Courts in the Third Circuit should exercise

   particular restraint in considering motions to exclude evidence.” Id. “The Third Circuit has, on

   several occasions, manifested a distinct aversion to the exclusion of important testimony absent

   evidence of extreme neglect or bad faith on the part of the proponent of the testimony.” Id.

   “[T]he pivotal issue is whether admission of the evidence will result in incurable prejudice to the

   resisting party.” Id. at 672. In the present case, the timing of Dr. Augsberger’s declaration was

   substantially justified and was not the product of bad faith on Defendants’ part. Moreover, there

   is no “incurable prejudice.”

          “A court reviewing a scheduling order violation should apply the Pennypack factors: (1)

   the prejudice or surprise in fact of the party against whom the excluded witnesses would have

   testified, (2) the ability of that party to cure the prejudice, (3) the extent to which waiver of the

   rule against calling unlisted witnesses would disrupt the orderly and efficient trial of the case or

   of other cases in the court, and (4) bad faith or willfulness in failing to comply with the district


                                                    8
Case
 Case2:15-cv-00280-SRC-CLW
      2:14-cv-04042-SRC-CLW Document
                             Document101-1
                                      217 Filed
                                           Filed06/22/15
                                                 08/25/16 Page
                                                           Page97ofof13
                                                                      32PageID:
                                                                         PageID:8362
                                                                                 1462



   court’s order.” Id. (internal quotations omitted), quoting In re Paoli R.R. Yard PCB Litig., 35

   F.3d 717, 791 (3rd Cir. 1994) and Meyers v. Pennypack Woods Home Ownership Ass’n, 559

   F.2d 894, 905 (3rd Cir. 1977). As explained in the remainder of this section, the foregoing

   factors militate strongly against striking Augsburger’s Declaration. 1

                   1. Plaintiff is Neither Prejudiced nor Surprised by the Content of
                      Augsburger’s Declaration

           As explained above, Plaintiff is very much aware of who Dr. Aubsburger is, given that

   Plaintiff has attempted to use different editions of the Augsburger Chapter to impeach Dr.

   Banker. It is not credible that the content of Dr. Aubsburger’s Declaration is surprising or

   substantially prejudicial to Plaintiff. This is not a case in which Defendants are changing

   direction or adding an entirely new theory with an unknown expert, or the like. Defendants are

   responding to Plaintiff’s attempt to contrive admissions by Dr. Banker, using a book chapter that

   Dr. Augsburger authored.       Further, through Dr. Augsburger’s Declaration, Defendants are

   providing substantive answers to Plaintiff’s deposition questions to Dr. Banker about Dr.

   Augsburger’s knowledge and thoughts. The “prejudice and surprise” Pennypack factor does not

   militate in favor of striking the declaration.

                   2. A Deposition and Opportunity for Supplemental Briefing Would Cure
                      Any Purported Prejudice

           The ability to cure purported prejudice militates against striking Dr. Augsburger’s

   declaration. The Court has not yet decided if there will be a Markman hearing. This is hardly an

   “eve of trial” situation. There is time, should the Court allow, for Plaintiff to take a deposition


   1
          Plaintiffs characterized Pennypack as not being on point in the context of claim
   construction experts and as being merely “instructive.” However, Pennypack is the governing
   standard in the Third Circuit for the exclusion of evidence and this Court has previously applied
   the analysis in the context of purported Local Patent Rule violations. See Shire LLC v. Amneal
   Pharms., LLC, 2013 U.S. Dist. LEXIS 65311 (May 7, 2013). Pennypack provides the
   framework for the Court’s analysis here.

                                                    9
Case
Case 2:15-cv-00280-SRC-CLW
     2:14-cv-04042-SRC-CLW Document
                           Document 101-1
                                    217 Filed
                                          Filed06/22/15
                                                08/25/16 Page
                                                          Page108 of
                                                                  of 13
                                                                     32 PageID:
                                                                        PageID: 8363
                                                                                1463



   and submit supplemental briefing, which would cure any alleged prejudice. Defendant would

   not challenge Plaintiff should Plaintiff seek leave to engage in such supplemental discovery.

   Defendants would gladly arrange for a deposition of Dr. Augsburger at a mutually agreeable

   time and location.     Defendants would also have no problem with Plaintiff submitting a

   supplemental brief based on that deposition, provided that Defendants have an opportunity to

   submit a responsive brief. There is clearly time available to do these things and if the Court

   allows it, any purported prejudice to Plaintiff would be nonexistent.

                  3. Allowing Augsburger’s Declaration to Stand Will Not Disrupt the Order
                     of Trial

          Where trial will not be disrupted due to belatedly disclosed evidence, striking such

   evidence is disfavored. Trial in the present case is not yet scheduled. Neither has a Markman

   hearing been scheduled (it is still an open question as to whether a Markman hearing will be held

   at all). Given the early stage of these proceedings, permitting Augsburger’s Declaration to

   remain in evidence will not disrupt the order of trial. Thus, this Pennypack factor militates

   against striking Dr. Augsburger’s Declaration.

                  4. Defendants Did Not Act in Bad Faith

          As discussed above, Dr. Augsburger’s Declaration (and Defendants’ responsive

   Markman brief) was unfortunately the first opportunity for Defendants to address Plaintiff’s

   attempt to discredit Dr. Banker using different editions of Augsburger’s Chapter. Had Plaintiff

   provided compliant pre-Markman submissions, Defendants would have been on notice of this

   line of attack and could have addressed it earlier. This was not, as Plaintiff tries to spin it,

   gamesmanship on Defendants’ part. Rather, it is Defendants’ attempt to set the record straight in

   response to Plaintiff’s previously unrevealed game of “gotcha!” with Dr. Banker and Dr.




                                                    10
Case
Case 2:15-cv-00280-SRC-CLW
     2:14-cv-04042-SRC-CLW Document
                           Document 101-1
                                    217 Filed
                                          Filed06/22/15
                                                08/25/16 Page
                                                          Page139 of
                                                                  of 13
                                                                     32 PageID:
                                                                        PageID: 8366
                                                                                1464



          If the Court allows Plaintiff to depose Dr. Augsburger and submit a supplemental brief

   relating to that deposition, any purported prejudice on Plaintiff’s part would be nonexistent.

   Striking of evidence due to a scheduling order violation is an extreme sanction and is not

   warranted under these circumstances. Accordingly, Defendants respectfully ask the Court to

   deny Defendants’ Motion.

                                              Respectfully submitted,


   Dated: June 22, 2015                       /s/ SGuerriero
                                              Salvatore Guerriero
                                              CAESAR RIVISE, PC
                                              1635 Market Street
                                              12th Floor - Seven Penn Center
                                              Philadelphia, PA 19103-2212
                                              Tel: (215) 567-2010
                                              Fax: (215) 751-1142
                                              Email: (<sal@crbcp.com>)

                                              Robert S. Silver (Pro Hac Vice)
                                              James J. Kozuch (Pro Hac Vice)
                                              CAESAR RIVISE PC
                                              1635 Market Street
                                              12th Floor - Seven Penn Center
                                              Philadelphia, PA 19103-2212
                                              Tel: (215) 567-2010

                                              Attorneys for Defendants
                                              Camber Pharmaceuticals, Inc. and
                                              InvaGen Pharmaceuticals, Inc.




                                                13
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 10 of 32 PageID: 1465




                          EXHIBIT 2
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 11 of 32 PageID: 1466



   Charles M. Lizza                        OF COUNSEL:
   William C. Baton
   Sarah A. Sullivan                       Joseph M. O’Malley, Jr.
   SAUL EWING LLP                          Preston K. Ratliff II
   One Riverfront Plaza, Suite 1520        Bruce M. Wexler
   Newark, NJ 07102-5426                   PAUL HASTINGS LLP
   (973) 286-6700                          75 East 55th Street
                                           New York, NY 10022
   Attorneys for Plaintiffs                (212) 318-6000
   Sumitomo Dainippon Pharma Co., Ltd.
   and Sunovion Pharmaceuticals Inc.       Attorneys for Plaintiffs
                                           Sumitomo Dainippon Pharma Co., Ltd.
                                           and Sunovion Pharmaceuticals Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   SUMITOMO DAINIPPON PHARMA CO.,          Civil Action No. 15-280 (SRC) (CLW)
   LTD. and SUNOVION                       Civil Action No. 15-281 (SRC) (CLW)
   PHARMACEUTICALS INC.,                   Civil Action No. 15-6401 (SRC) (CLW)
                                           (Consolidated)
                       Plaintiffs,

          v.

   EMCURE PHARMACEUTICALS
   LIMITED, et al.,

                       Defendants.



                           SUNOVION’S IDENTIFICATION OF
                      REBUTTAL CLAIM CONSTRUCTION EVIDENCE
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 12 of 32 PageID: 1467



   that evidence. Sunovion reserves the right to rely upon additional evidence, including in response

   to Defendants’ designation of evidence opposing Sunovion’s proposed construction.

          A.      Intrinsic Evidence

          •    The specification of the ’372 patent, including, without limitation: 3:3-4:43, 4:44-53,
               11:38-65, 12:31-13:9, 14:63-16:39, 27:35-40, 28:29-35, 30:30-32:23, Compound No.
               206 in Table 7, and Examples 4, 6, 10, 12, 22, 23, 25, 27, 29, 31, 33, 35, 37, 39, 41, 43,
               45, 47, 49, 51, 62, 64, 66, 67, 69, and 72;

          •    The prosecution history of the patent-in-suit, including, without limitation:
               LATUDA-00000676-82, LATUDA-00000688-92, and LATUDA-00000849-965; and

          •    The various claims of the ’372 patent, including, without limitation: Claims 15 and 19.

          B.      Extrinsic Evidence

          As stated above, Sunovion objects to introducing extrinsic evidence in this case because

   the intrinsic evidence and plain meaning of the proposed term for construction is sufficiently clear.

   Subject to this objection, Sunovion reserves the right to introduce the following extrinsic evidence

   and any other extrinsic evidence not listed here to respond to any such evidence Defendants may

   attempt to bring into this case:

          •    Emcure’s Paragraph IV Notice Letter dated December 2, 2014;

          •    Emcure’s Supplemental Paragraph IV Notice Letter dated June 16, 2015;

          •    Emcure’s L. Pat. R. 3.3 and 3.6 contentions dated August 4, 2015;

          •    InvaGen’s Paragraph IV Notice Letter dated December 5, 2014;

          •    InvaGen’s Supplemental Paragraph IV Notice Letter dated June 18, 2015;

          •    InvaGen’s L. Pat. R. 3.3 and 3.6 contentions dated July 28, 2015;

          •    Teva’s Paragraph IV Notice Letter dated July 13, 2015; and

          •    Teva’s L. Pat. R. 3.3 and 3.6 contentions dated February 3, 2016.




                                                   -4-
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 13 of 32 PageID: 1468



   Sunovion reserves the right to call one or more experts to testify in rebuttal to any expert testimony

   Defendants may seek to introduce. Sunovion reserves the right to rely upon any documents relied

   upon by any expert testifying on Sunovion’s or Defendants’ behalf in connection with the

   Markman proceeding in this action.


   Dated: April 20, 2016                             By:    s/ Charles M. Lizza
                                                           Charles M. Lizza
                                                           William C. Baton
                                                           SAUL EWING LLP
                                                           One Riverfront Plaza, Suite 1520
                                                           Newark, NJ 07102-5426
                                                           (973) 286-6700
                                                           clizza@saul.com

                                                           Of Counsel:

                                                           Joseph M. O’Malley, Jr.
                                                           Preston K. Ratliff II
                                                           Bruce M. Wexler
                                                           PAUL HASTINGS LLP
                                                           75 East 55th Street
                                                           New York, NY 10022
                                                           (212) 318-6000

                                                           Attorneys for Plaintiffs
                                                           Sumitomo Dainippon Pharma Co., Ltd.
                                                           and Sunovion Pharmaceuticals Inc.




                                                   -5-
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 14 of 32 PageID: 1469




                          EXHIBIT 3
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 15 of 32 PageID: 1470



   PATUNAS TARANTINO LLC
   Michael E. Patunas
   Mayra V. Tarantino
   24 Commerce Street, Suite 606
   Newark, N.J. 07102
   (973) 396-8740

   Of Counsel:
   GOODWIN PROCTER LLP
   Ira J. Levy
   Cynthia Lambert Hardman
   Jonathan A. Auerbach
   Linnea P. Cipriano
   The New York Times Building
   620 Eighth Avenue
   New York, NY 10018
   (212) 813-8800

   Attorneys for Defendants Teva Pharmaceuticals USA, Inc. and
   Teva Pharmaceutical Industries Ltd.

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


   SUMITOMO DAINIPPON PHARMA CO.,
   LTD. and SUNOVION
   PHARMACEUTICALS INC.,
                                                 Civil Action No. 15-280 (SRC)(CLW)
                 Plaintiffs,
   v.                                            (Civil Action No. 15-6401 (SRC)(CLW)
                                                 Consolidated)
   TEVA PHARMACEUTICALS USA, INC.
   and TEVA PHARMACEUTICAL
   INDUSTRIES LTD.,

                 Defendants.



             DEFENDANTS TEVA PHARMACEUTICALS USA, INC. AND TEVA
        PHARMACEUTICAL INDUSTRIES LTD.’S IDENTIFICATION OF SUPPORTING
         INTRINSIC AND EXTRINSIC EVIDENCE THEY INTEND TO RELY UPON TO
                  OPPOSE PLAINTIFFS’ PROPOSED CONSTRUCTIONS
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 16 of 32 PageID: 1471



             a.      Teva identifies the following intrinsic and extrinsic evidence that, in addition

                     to the intrinsic or extrinsic evidence it previously disclosed in its Preliminary

                     Proposed Claim Constructions Pursuant to Local Patent Rule 4.2(a)-(b) served

                     on April 6, 2016, may be used to oppose Plaintiffs’ proposed construction of

                     “plain meaning – refers to lurasidone, lurasidone’s enantiomer, as well as

                     mixtures thereof”:


                     i.      Expert opinions that, based on the cited intrinsic and extrinsic evidence,
                             the level of ordinary skill in the art, the state of the relevant art, and the
                             meaning of “the imide compound of the formula:




                                                                 ”

                             to a person of ordinary skill in the art at the time of filing date of the
                             patent, Plaintiffs’ proposed construction should not be adopted.

          Teva may also rely on intrinsic and extrinsic evidence identified and produced by other

   defendants in litigations brought by Plaintiffs involving the ’372 patent.




                                                     3
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 17 of 32 PageID: 1472



   Dated: April 20, 2016               PATUNAS TARANTINO LLC

                                       s/Mayra V. Tarantino
                                       Michael E. Patunas
                                       Mayra V. Tarantino
                                       24 Commerce Street, Suite 606
                                       Newark, NJ 07102
                                       (973) 396-8740
                                       mpatunas@patunaslaw.com
                                       mtarantino@patunaslaw.com

                                       Of Counsel:
                                       GOODWIN PROCTER LLP
                                       Ira J. Levy
                                       Cynthia Lambert Hardman
                                       Jonathan A. Auerbach
                                       Linnea P. Cipriano
                                       The New York Times Building
                                       620 Eighth Avenue
                                       New York, NY 10018
                                       (212) 813-8800
                                       ilevy@goodwinprocter.com
                                       chardman@goodwinprocter.com
                                       jauerbach@goodwinprocter.com
                                       lcipriano@goodwinprocter.com

                                       Attorneys for Teva Pharmaceuticals USA Inc. and
                                       Teva Pharmaceutical Industries Ltd.




                                         4
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 18 of 32 PageID: 1473




                          EXHIBIT 4
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 19 of 32 PageID: 1474
                                                                        DRAFT




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


   SUMITOMO DAINIPPON PHARMA             Civil Action No. 15-280 (SRC) (CLW)
   CO., LTD. and SUNOVION                Civil Action No. 15-281 (SRC) (CLW)
   PHARMACEUTICALS INC.,                 Civil Action No. 15-6401 (SRC) (CLW)
                                         (Consolidated)
                     Plaintiffs,
                                         (Filed Electronically)
         v.

   EMCURE PHARMACEUTICALS
   LIMITED, et al.,

                     Defendants.



        JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 20 of 32 PageID: 1475



          (d)    Anticipated Length of Time Necessary for the Claim Construction
                 Hearing

          The parties anticipate that the Court will be able to conduct a hearing on the

   construction of the identified claim term in approximately four hours.

          (e)    Identification of Witnesses for the Claim Construction Hearing

          Sunovion does not anticipate calling any witnesses at the Claim Construction

   hearing. Further, Sunovion objects to any witness testimony proposed by Defendants as

   unnecessary because the intrinsic evidence and plain meaning of the proposed term for

   construction is sufficiently clear.

          Defendants anticipate calling Dr. Stephen Baldwin and/or Craig W. Lindsley, Ph.D.

   as witnesses at the Claim Construction hearing to testify on the matters described in

   Exhibit A.

   Dated: May 4, 2016
   By:                                                By:
   Michael E. Patunas                                  Charles M. Lizza
   Mayra V. Tarantino                                  William C. Baton
   PATUNAS TARANTINO LLC                               SAUL EWING LLP
   24 Commerce Street, Suite 606                       One Riverfront Plaza, Suite 1520
   Newark, N.J. 07102                                  Newark, NJ 07102-5426
   (973) 396-8740                                      (973) 286-6700
   mpatunas@patunaslaw.com                             clizza@saul.com
   mtarantino@patunaslaw.com
                                                       Of Counsel:
   Of Counsel:
                                                       Joseph M. O’Malley, Jr.
   Ira J. Levy                                         Preston K. Ratliff II
   Cynthia Lambert Hardman                             Bruce M. Wexler
   Jonathan A. Auerbach                                PAUL HASTINGS LLP
   Linnea P. Cipriano                                  200 Park Avenue
   Goodwin Procter LLP                                 New York, NY 10166




                                               -6-
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 21 of 32 PageID: 1476




                          EXHIBIT 5
   Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 22 of 32 PageID: 1477


Yakub, Imtiaz

From:                               DiSabatino, Dominick
Sent:                               Monday, May 02, 2016 4:01 PM
To:                                 Hardman, Cynthia; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.;
                                    Salvatore Guerriero; Robert S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra
                                    Tarantino; Michael Patunas; Auerbach, Jonathan A
Cc:                                 Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses,
                                    David L.'; Lucia, Jamie L.; Ratliff, Preston K.
Subject:                            RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)


Counsel,

Thank you for the meet and confer today. Further to our discussion, please let us know if any of the Defendants
disagree with Sunovion’s proposed construction of the claim term “or an addition salt thereof.” If so, please let us have
as soon as possible your proposed constructions for that claim term. Further, please let us know as soon as practicable
whether Defendants will use both Drs. Baldwin and Lindsley, or which one of them Defendants will use for claim
construction. Sunovion will use Dr. Stephen G. Davies, Professor of Organic Chemistry and Fellow of Magdalen College
at the University of Oxford, as its witness for the disputed claim terms. Finally, as discussed, we will send you revisions
to the draft Joint Statement tomorrow.

Very truly yours,

Dominick


From: DiSabatino, Dominick
Sent: Friday, April 29, 2016 10:07 AM
To: 'Hardman, Cynthia'; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert
S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas; Auerbach, Jonathan A
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

Please use the following dial‐in information for our call on Monday at 3PM ET:

Dial‐in: 1‐800‐308‐2601
Passcode: 690076


Very truly yours,

Dominick


From: Hardman, Cynthia [mailto:CHardman@goodwinprocter.com]
Sent: Thursday, April 28, 2016 12:32 PM
To: DiSabatino, Dominick; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero;
Robert S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas; Auerbach, Jonathan A
                                                               1
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 23 of 32 PageID: 1478




                          EXHIBIT 6
   Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 24 of 32 PageID: 1479


Yakub, Imtiaz

From:                               Yakub, Imtiaz
Sent:                               Wednesday, May 04, 2016 4:33 PM
To:                                 Auerbach, Jonathan A; Hardman, Cynthia; 'Kistler, David C.'; Hu, Christopher K.; Lessler,
                                    Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert S. Silver; Pei-Ru Wey; Levy, Ira J;
                                    Cipriano, Linnea P; Mayra Tarantino; Michael Patunas; mjames@crbcp.com;
                                    LTerrebonne@crbcp.com
Cc:                                 Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses,
                                    David L.'; Lucia, Jamie L.; Ratliff, Preston K.; DiSabatino, Dominick
Subject:                            RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)
Attachments:                        Attachment.docx; redline.pdf


Counsel,

Sunovion disagrees with Defendants’ allegations that Sunovion is in any way circumventing the requirements of the
Local Patent Rules. The parties’ discussions and correspondence confirm that there is clearly a dispute concerning the
plain and ordinary meaning of the term “or an acid addition salt.” We are therefore disappointed that Defendants
refuse to offer a construction for this term.

With respect to Sunovion’s reliance on Dr. Davies for claim construction in opposition to Defendants’ expert, we are
disappointed that Defendants will not tell us their concern. For example, Defendants have refused to tell us how, if at
all, they are harmed or prejudiced. We remain willing to meet and confer regarding these issues. Please let us know if
Defendants are amenable to a meet and confer later this week. In the meantime, attached is the proposed final version
of the Joint Statement with a few revisions responsive to Defendants’ statements.

Very truly yours,

Imtiaz

From: Auerbach, Jonathan A [mailto:JAuerbach@goodwinprocter.com]
Sent: Wednesday, May 04, 2016 1:16 PM
To: Yakub, Imtiaz; Hardman, Cynthia; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore
Guerriero; Robert S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas;
mjames@crbcp.com; LTerrebonne@crbcp.com
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.; DiSabatino, Dominick
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

Sunovion’s L. Pat. R. 4.2(b) statement on page 4 states that it was proposing “Plain meaning” as the construction for “or
an acid addition salt thereof.” It does not include the additional text that appeared for the first time in Sunovion’s April
26 draft of the L. Pat. R. 4.3 Joint Statements. Nor do those documents include the intrinsic and extrinsic evidence that
Sunovion disclosed to Defendants for the first time yesterday. In short, Sunovion is plainly circumventing the
requirements of the Local Patent Rules by asserting a construction of “plain meaning” and then belatedly inserting an
“example” of plain meaning that is actually a construction. At this late stage, Defendants do not agree to engage in
further back and forth regarding this issue, and the current draft of the L. Pat. R. 4.3 statement reflects Defendants’
positions on the issue.


                                                               1
   Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 25 of 32 PageID: 1480
Defendants also do not agree to Sunovion’s untimely disclosure of its reliance on expert testimony. As I stated in my
email yesterday, L. Pat R. 4.2(b)‐(c) requires that “[w]ith respect to all witnesses including experts, the identifying party
shall [] provide a description of the substance of that witness' proposed testimony that includes a listing of any opinions
to be rendered in connection with claim construction.”

You have not provided any support for your position that the “progressive process” under the Local Patent Rules allows
Sunovion to wait to see what evidence Defendants intend to rely on before disclosing whether it is also relying on expert
testimony. Sunovion provided no description of any proposed expert testimony in its L. Pat. R. 4.2(b) disclosure and
Sunovion’s pro forma statement in its L. Pat. R. 4.2(c) disclosure that it reserved the right to rely on expert testimony to
rebut Defendants’ expert testimony does not satisfy the obligations of the Local Patent Rules. Accordingly, should
Sunovion seek to offer an expert declaration with either its opening or responsive Markman briefs, Defendants intend to
move the Court to strike those declarations.

If Sunovion has any authority that supports its argument that the Local Patent Rules provide for a “progressive process”
to the disclosure of claim constructions and supporting evidence, Defendants will consider it. Otherwise, Defendants
submit that the parties have a genuine dispute as to the below issues and that a further meet/confer would be
futile. The parties should file the proposed statement along with a request for a conference with the Court to address
the issues, subject to Defendants’ review of the final submission before filing.

Best,
Jon

From: Yakub, Imtiaz [mailto:imtiazyakub@paulhastings.com]
Sent: Wednesday, May 04, 2016 12:36 PM
To: Auerbach, Jonathan A; Hardman, Cynthia; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.;
Salvatore Guerriero; Robert S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.; DiSabatino, Dominick
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

Sunovion does not agree to drop the second claim term from the joint statement. The parties’ discussions and
correspondence confirm that the parties disagree over the plain and ordinary meaning of "or an acid addition salt
thereof.” As you know, Sunovion included this term in its L. Pat. R. 4.2(b) statement (at page 4) and the April 26 and
May 3 draft L. Pat. R. 4.3 Joint Statements that Sunovion sent to Defendants. Please provide Defendants’ explanation of
how their definition of the plain and ordinary meaning of this term differs from Sunovion’s and provide any supporting
evidence.

Regarding Sunovion's reliance on Dr. Davies for claim construction, Sunovion disagrees that it has in any way violated
the claim construction process of the Local Patent Rules. The Local Patent Rules provide for a progressive process of
disclosing extrinsic evidence that concludes with the submission of the Joint Statement. In addition, Sunovion's 4.2(c)
statement informed Defendants that to the extent it planned to rely on expert testimony, Sunovion would rely on such
testimony to address the subject matter identified in Defendants 4.2(b) statements.

Please let us know Defendants' specific concern with Sunovion's reliance on expert testimony in opposition to
Defendants’ expert. For example, if Defendants believe that they have been harmed or prejudiced in any way, we would
welcome a meet and confer to address any such concerns and to discuss reasonable solutions.

Very truly yours,

Imtiaz

                                                               2
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 26 of 32 PageID: 1481




                          EXHIBIT 7
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 27 of 32 PageID: 1482

                       STEVEN WORTH BALDWIN - 07/14/2016                         ·

    ·1· ·UNITED STATES DISTRICT COURT
    ·2· ·DISTRICT OF NEW JERSEY
    ·3· ·--------------------------------------X
    ·4· ·SUMITOMO DAINIPPON PHARMA CO., LTD.
    ·5· ·and SUNOVION PHARMACEUTICALS, INC.,
    ·6· · · · · · ·Plaintiffs,
    ·7
    ·8· · · · · · ·v.
    ·9
    10· ·EMCURE PHARMACEUTICALS USA, INC.
    11· ·and EMCURE PHARMACEUTICALS LTD.,
    12· · · · · · ·Defendants.
    13· ·--------------------------------------X
    14
    15· · · · · · · · · July 14, 2016
    16· · · · · · · · · 9:02 a.m.
    17
    18· ·Videotaped Deposition of STEVEN WORTH BALDWIN,
    19· ·pursuant to notice, at the offices of Blank
    20· ·Rome LLP, 405 Lexington Avenue, New York, New
    21· ·York, before Mark Richman, a Certified
    22· ·Shorthand Reporter, Registered Professional
    23· ·Reporter and Notary Public within and for the
    24· ·State of New York.
    25


              DTI Court Reporting Solutions - Woodland Hills
   1-800-826-0277                                    www.deposition.com
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 28 of 32 PageID: 1483

                                  STEVEN WORTH BALDWIN - 07/14/2016                                      Pages 2..5
                                                    Page 2                                                           Page 4
    ·1· ·A P P E A R A N C E S:                              ·1· ·A P P E A R A N C E S· (Cont'd):
    ·2· ·PAUL HASTINGS LLP                                   ·2· ·GOODWIN PROCTER LLP
    ·3· ·Attorneys for Plaintiffs                            ·3· ·Attorneys for Defendant Teva Pharmaceutical
    ·4· · · · · 200 Park Avenue                              ·4· · · · · The New York Times Building
    ·5· · · · · New York, NY 10166                           ·5· · · · · 620 Eighth Avenue
    ·6                                                       ·6· · · · · New York, NY 10018
    ·7· ·BY:· · PRESTON K. RATLIFF II, ESQ.                  ·7
    ·8· · · · · LEO C. DESESSO, ESQ.                         ·8· ·BY:· · BRIAN J. PREW, ESQ.
    ·9· · · · · prestonratliff@paulhastings.com              ·9· · · · · bprew@goodwinlaw.com
    10· · · · · leodesesso@paulhastings.com                  10
    11                                                       11· ·ALSO PRESENT:
    12· ·BLANK ROME LLP                                      12· ·MICHAEL P. McCRANE, Ph.D,
    13· ·Attorneys for Defendants Emcure                     13· ·Paul Hastings
    14· ·Pharmaceuticals, Ltd. and Heritage Pharma Labs      14· ·Michael Drenkalo, Videographer
    15· ·Inc. (Formerly known as Emcure PHarmaceuticals      15
    16· ·USA, Inc.)                                          16
    17· · · · · The Chrysler Building                        17
    18· · · · · 405 Lexington Avenue                         18
    19· · · · · New York, NY 10174-0208                      19
    20                                                       20
    21· ·BY:· · CHRISTOPHER K. HU, ESQ.                      21
    22· · · · · chu@blankrome.com                            22
    23                                                       23
    24                                                       24
    25                                                       25

                                                    Page 3                                                           Page 5
    ·1· ·A P P E A R A N C E S (Cont'd):                     ·1·   · · · · · · · E X H I B I T S
                                                             ·2·   · DESCRIPTION· · · · · · · · ·   · ·PAGE· · LINE
    ·2· ·BLANK ROME LLP                                      · ·   ·(Whereupon Baldwin Exhibit 1·   · · 13· · · 21
                                                             ·3·   ·was marked for
    ·3· ·Attorneys for Defendants Emcure                     · ·   ·identification, curriculum
                                                             ·4·   ·vitae of Steven Worth
    ·4· ·Pharmaceuticals, Ltd. and Heritage Pharma Labs      · ·   ·Baldwin, Ph.D.)
                                                             ·5·   ·(Whereupon Baldwin Exhibit 2·   · · 34· · · ·8
    ·5· ·Inc. (Formerly known as Emcure PHarmaceuticals      · ·   ·was marked for
    ·6· ·USA, Inc.)                                          ·6·   ·identification, handwritten
                                                             · ·   ·drawing of the witness.)
    ·7· · · · · 301 Carnegie Center, 3rd Floor               ·7·   ·(Whereupon Baldwin Exhibit 3·   · · 41· · · ·8
                                                             · ·   ·was marked for
    ·8· · · · · Princeton, NJ 08540                          ·8·   ·identification, copy of U.S.
                                                             · ·   ·Patent Number 5,532,372.)
    ·9                                                       ·9·   ·(Whereupon Baldwin Exhibit 4·   · · 74· · · 10
                                                             · ·   ·was marked for
    10· ·BY:· · DAVID C. KISTLER, ESQ.                       10·   ·identification, Declaration
                                                             · ·   ·of Steven Worth Baldwin,
    11· · · · · kistler@blankrome.com                        11·   ·PH.D.)
                                                             · ·   ·(Whereupon Baldwin Exhibit 5·   · · 82· · · 24
    12                                                       12·   ·was marked for
                                                             · ·   ·identification, Bates stamp
    13· ·CAESAR RIVISE, PC                                   13·   ·LATUDA-00000849 through
    14· ·Attorneys for Defendant InvaGen                     · ·   ·852.)
                                                             14·   ·(Whereupon Baldwin Exhibit 6·   · · 84· · · 13
    15· ·Pharmaceuticals, Inc.                               · ·   ·was marked for
                                                             15·   ·identification, Bates stamp
    16· · · · · 1635 Market Street, 12th Floor               · ·   ·LATUDA-00000970 through
                                                             16·   ·972.)
    17· · · · · Philadelphia, PA 19103-2212                  · ·   ·(Whereupon Baldwin Exhibit 7·   · ·106· · · 14
                                                             17·   ·was marked for
    18                                                       · ·   ·identification, letter on
                                                             18·   ·letterhead of Florek &
    19· ·BY:· · SALVATORE GUERRIERO,* ESQ.                   · ·   ·Endres PLLC, paragraph 4
                                                             19·   ·notice letter.)
    20· · · · · (Pro Hac Vice*)                              · ·   ·(Whereupon Baldwin Exhibit 8·   · ·132· · · 10
    21· · · · · sal@crbcp.com                                20·   ·was marked for
                                                             · ·   ·identification, paragraph 4
    22                                                       21·   ·certification notice letter
                                                             · ·   ·provided to plaintiffs by
    23                                                       22·   ·Teva.)
                                                             · ·   ·(Whereupon Baldwin Exhibit 9·   · ·177· · · 17
    24                                                       23·   ·was marked for
                                                             · ·   ·identification, single page
    25                                                       24·   ·containing structure.)
                                                             25


              DTI Court Reporting Solutions - Woodland Hills
   1-800-826-0277                                    www.deposition.com                                                       YVer1f
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 29 of 32 PageID: 1484

                                  STEVEN WORTH BALDWIN - 07/14/2016                                 Pages 6..9
                                                        Page 6                                              Page 8
    ·1·   ·(Whereupon Baldwin Exhibit· ·   · ·180· · · 24        ·1·   · · · · · ·STEVEN WORTH BALDWIN
    · ·   ·10 was marked for
    ·2·   ·identification, document                              ·2·   · · · Sunovion.
    · ·   ·depicting a structure.)                               ·3·   · · · · · · MR. HU:· Chris Hu and David
    ·3·   ·(Whereupon Baldwin Exhibit· ·   · ·183· · · ·3
                                                                 ·4·   · · · Kistler, from Blank Rome, for Emcure.
    · ·   ·11 was marked for
    ·4·   ·identification, copy of U.S.                          ·5·   · · · · · · MR. PREW:· Brian Prew from
    · ·   ·Patent 4,681,893.)                                    ·6·   · · · Goodwin Procter on behalf of Teva.
    ·5·   ·(Whereupon Baldwin Exhibit· ·   · ·241· · · ·7
    · ·   ·12 was marked for                                     ·7·   · · · · · · MR. GUERRIERO:· Salvatore
    ·6·   ·identification, copy of the                           ·8·   · · · Guerriero of Caesar Rivise on behalf
    · ·   ·declaration of Dr. Steven G.
                                                                 ·9·   · · · of defendant InvaGen Pharmaceuticals
    ·7·   ·Davies.)
    · ·   ·(Whereupon Baldwin Exhibit· ·   · ·250· · · ·3        10·   · · · Inc.
    ·8·   ·13 was marked for                                     11·   · · · · · · THE VIDEOGRAPHER:· Our court
    · ·   ·identification, Opening
    ·9·   ·brief in support of the
                                                                 12·   · · · reporter today is Mark Richman of DTI
    · ·   ·plaintiff's claim                                     13·   · · · who will now swear in the witness.
    10·   ·construction in this                                  14·   · · · · · · ·STEVEN WORTH BALDWIN, Having
    · ·   ·litigation.)
    11                                                           15·   · · · been called as a witness, having
    12                                                           16·   · · · been first duly sworn by the Notary
    13
    14
                                                                 17·   · · · Public (Mark Richman), was examined
    15                                                           18·   · · · and testified as follows:
    16                                                           19·   · · · EXAMINATION BY MR. RATLIFF:
    17
    18                                                           20·   · · · Q.· · Good morning, sir.
    19                                                           21·   · · · A.· · Good morning.
    20
    21
                                                                 22·   · · · Q.· · Please state your full name
    22                                                           23·   ·for the record.
    23                                                           24·   · · · A.· · Steven Worth Baldwin.
    24
    25                                                           25·   · · · Q.· · Please state your residence
                                                        Page 7                                              Page 9
    ·1·   · · · STEVEN WORTH BALDWIN                             ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   · · · ·THE VIDEOGRAPHER:· Now recording                ·2·   ·address for the record.
    ·3·   ·and on the record.· My name is Michael                ·3·   · · · A.· · 5209 Piney Hollow Court,
    ·4·   ·Drenkalo, certified legal video                       ·4·   ·Durham, North Carolina.
    ·5·   ·specialist for DTI.· Today's date is                  ·5·   · · · Q.· · How are you feeling today?
    ·6·   ·July 14, 2016, time is 9:02 a.m.                      ·6·   · · · A.· · Fine.
    ·7·   · · · ·We are at the offices of Blank                  ·7·   · · · Q.· · Is there any reason you cannot
    ·8·   ·Rome LLP, 405 Lexington Avenue, New                   ·8·   ·give truthful and accurate testimony
    ·9·   ·York, New York to take the video                      ·9·   ·today?
    10·   ·deposition of Professor Steven Baldwin                10·   · · · A.· · No, there's no reason.
    11·   ·in the matter of Sumitomo Dainippon                   11·   · · · Q.· · And you've had your deposition
    12·   ·Pharma Co. Ltd. And Sunovion                          12·   ·taken before, correct?
    13·   ·Pharmaceuticals Inc. versus Emcure                    13·   · · · A.· · Yes, I have.
    14·   ·Pharmaceuticals USA, Inc. and Emcure                  14·   · · · Q.· · You've had it taken many times
    15·   ·Pharmaceuticals Ltd., United States                   15·   ·before, correct?
    16·   ·District Court District of New Jersey.                16·   · · · A.· · Yeah, many is a relative word,
    17·   · · · ·If counsel will please introduce                17·   ·but something over between 20 and 30
    18·   ·themselves for the record.                            18·   ·would be my best guess over a 20-year
    19·   · · · ·MR. RATLIFF:· Preston Ratliff,                  19·   ·period.
    20·   ·with the Paul Hastings law firm in New                20·   · · · Q.· · You consider that many,
    21·   ·York, on behalf of the plaintiffs, and                21·   ·correct?
    22·   ·here with me today are Leo DeSesso and                22·   · · · A.· · Yeah, that's fine.
    23·   ·Mike McCrane, also with the Paul                      23·   · · · Q.· · Now, one of your professional
    24·   ·Hastings law firm.· And also here with                24·   ·activities is being a scientific
    25·   ·me today is Michelle Flores from                      25·   ·consultant for several major intellectual


              DTI Court Reporting Solutions - Woodland Hills
   1-800-826-0277                                    www.deposition.com                                              YVer1f
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 30 of 32 PageID: 1485

                             STEVEN WORTH BALDWIN - 07/14/2016                      Pages 238..241
                                            Page 238                                           Page 240
    ·1·   · · · · · ·STEVEN WORTH BALDWIN              ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   · · · A.· · No, none.                        ·2·   ·more extrinsic sources in support of your
    ·3·   · · · Q.· · Now if you could turn your       ·3·   ·proposed construction than -- strike
    ·4·   ·attention to your declaration, which I      ·4·   ·that.
    ·5·   ·believe you have in front of you, and in    ·5·   · · · · · · Do you agree that you cite
    ·6·   ·particular looking at paragraph 43.· Do     ·6·   ·more extrinsic sources --
    ·7·   ·you have that, sir?                         ·7·   · · · · · · MR. HU:· Objection.
    ·8·   · · · A.· · Yes, I do.                       ·8·   · · · Q.· · -- for your proposed
    ·9·   · · · Q.· · And in paragraph 30 -- strike    ·9·   ·construction -- -
    10·   ·that.· In paragraph 43 you state that       10·   · · · · · · MR. HU:· Objection to form.
    11·   ·defendants proposed construction of the     11·   · · · Q.· · -- as opposed to intrinsic
    12·   ·claim term, the imide compound of the       12·   ·sources?
    13·   ·formula, and you have a structure           13·   · · · A.· · Yes, there's a limited number
    14·   ·depicted at the top of 17 is consistent     14·   ·of intrinsic sources so I do, yes.
    15·   ·with how a person of ordinary skill would   15·   · · · Q.· · And is it correct that the
    16·   ·construe the phrase in the context of the   16·   ·only claim term that you plan to render
    17·   ·'372 patent, and its file history?          17·   ·opinion with respect to is provided in
    18·   · · · A.· · Yes.                             18·   ·paragraph 43 of your declaration?
    19·   · · · Q.· · And I notice when you make       19·   · · · A.· · In 43, yes, that's the only
    20·   ·that statement you leave out the            20·   ·one I was asked to consider, yes.
    21·   ·extrinsic sources that you relied upon in   21·   · · · Q.· · Okay.· And that's the only one
    22·   ·your declaration, correct?                  22·   ·you expect to provide testimony to the
    23·   · · · A.· · I'm not sure, what do you mean   23·   ·court regarding, correct?
    24·   ·that I left --                              24·   · · · A.· · I haven't heard -- I haven't
    25·   · · · Q.· · Sure, sure.· So when we look     25·   ·been asked to consider any other claim
                                            Page 239                                           Page 241
    ·1·   · · · · · ·STEVEN WORTH BALDWIN              ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   ·at paragraph 43, the last sentence, you     ·2·   ·terms so I would assume so.· I don't know
    ·3·   ·say based upon your personal knowledge,     ·3·   ·if anything will happen after this, but.
    ·4·   ·education and experience, that a person     ·4·   · · · · · · MR. RATLIFF:· I'd like the
    ·5·   ·of ordinary skill in the art would          ·5·   · · · court to mark as Baldwin Exhibit
    ·6·   ·construe the phrase consistent with the     ·6·   · · · Number 12 a multipage document.
    ·7·   ·defendants' proposed construction in the    ·7·   · · · · · · (Whereupon Baldwin Exhibit 12
    ·8·   ·context of the '372 patent, and its file    ·8·   · · · was marked for identification, copy
    ·9·   ·history?                                    ·9·   · · · of the declaration of Dr. Steven G.
    10·   · · · A.· · Yes.                             10·   · · · Davies.)
    11·   · · · Q.· · And I just want to be sure       11·   · · · Q.· · Professor Baldwin, the court
    12·   ·we're clear.· When you render the opinion   12·   ·reporter has just handed you Baldwin
    13·   ·that defendants' proposed construction is   13·   ·Exhibit Number 12 which is a copy of the
    14·   ·consistent with yours, are you relying      14·   ·declaration of Dr. Steven G. Davies.
    15·   ·upon the extrinsic sources that you cite    15·   · · · A.· · Yes.
    16·   ·in your report, or not?                     16·   · · · Q.· · Can you please just take a
    17·   · · · A.· · Yes, they're consistent.· Yes,   17·   ·look at this and let me know if you've
    18·   ·it's a consistent picture.                  18·   ·seen Dr. Davies' declaration before?
    19·   · · · Q.· · So you are in fact --            19·   · · · A.· · Yes, I have.
    20·   · · · A.· · Yes.                             20·   · · · Q.· · When did you see it?
    21·   · · · Q.· · -- relying upon --               21·   · · · A.· · Well, not long after I
    22·   · · · A.· · Yes.                             22·   ·submitted my declaration so I don't know
    23·   · · · Q.· · -- extrinsic sources?            23·   ·the exact date but it's within the last
    24·   · · · A.· · Yes.                             24·   ·month is probably when I saw it.
    25·   · · · Q.· · Do you agree that you cite       25·   · · · Q.· · Okay.· And are you planning to


              DTI Court Reporting Solutions - Woodland Hills
   1-800-826-0277                                    www.deposition.com                                   YVer1f
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 31 of 32 PageID: 1486

                             STEVEN WORTH BALDWIN - 07/14/2016                      Pages 242..245
                                            Page 242                                           Page 244
    ·1·   · · · · · ·STEVEN WORTH BALDWIN              ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   ·provide any formal response to Dr.          ·2·   ·particular place that you'd like to, like
    ·3·   ·Davies' declaration in the form of a        ·3·   ·me to --
    ·4·   ·rebuttal declaration?                       ·4·   · · · Q.· · In your last opinion that you
    ·5·   · · · A.· · I'm not aware of any plans to    ·5·   ·just provided me, or last response, are
    ·6·   ·do that, no.                                ·6·   ·you familiar with the references cited by
    ·7·   · · · Q.· · Okay.· When you -- did you       ·7·   ·the defendants in exhibit E --· sorry,
    ·8·   ·examine Dr. Davies' declaration             ·8·   ·strike that.· Are you familiar with the
    ·9·   ·carefully?                                  ·9·   ·references cited by the defendants in
    10·   · · · A.· · Yes, I read it quite             10·   ·exhibit A of the joint claim construction
    11·   ·carefully, yes.                             11·   ·and prehearing statement?
    12·   · · · Q.· · When you read Dr. Davies'        12·   · · · A.· · Oh, wait a minute, I may have
    13·   ·declaration, did you find any aspects of    13·   ·mis- -- yeah, I may have misspoken. I
    14·   ·it in which you have disagreement?          14·   ·don't know actually.· I don't know that I
    15·   · · · A.· · I mean, you know, his, his       15·   ·am, to tell you the truth.· I just --
    16·   ·conclusion is, is that Claim 14 covers      16·   ·it's getting late.
    17·   ·racemic mixtures, individual enantiomers    17·   · · · Q.· · Okay.· And as you were
    18·   ·and basically any mixture thereof.· And,    18·   ·responding to my question previously, you
    19·   ·you know, I don't agree with that.· So I    19·   ·were thinking about the extrinsic sources
    20·   ·mean without going through it again, I      20·   ·that were cited in your declaration?
    21·   ·mean it's been a while since I read it, I   21·   · · · A.· · Yes, and of course he hadn't
    22·   ·can't, I can't, you know, I don't want to   22·   ·seen my declaration, so that's right.
    23·   ·say there's no other place I disagree,      23·   · · · Q.· · Right.· And we've already
    24·   ·but that's his bottom line which is         24·   ·established that some of the extrinsic
    25·   ·clearly not consistent with my bottom       25·   ·sources that you cite in your declaration
                                            Page 243                                           Page 245
    ·1·   · · · · · ·STEVEN WORTH BALDWIN              ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   ·line, so.                                   ·2·   ·hadn't even existed as of the time of
    ·3·   · · · Q.· · Okay.· And so you have the       ·3·   ·July 5, 1991 for the person of ordinary
    ·4·   ·declaration in front of you.· Can you       ·4·   ·skill in the art?
    ·5·   ·point me to other places that you have a    ·5·   · · · A.· · That's correct.
    ·6·   ·disagreement with Dr. Davies' opinions?     ·6·   · · · Q.· · To even review?
    ·7·   · · · A.· · Just give me a sec here.         ·7·   · · · A.· · That's correct.
    ·8·   · · · Q.· · Sure.                            ·8·   · · · Q.· · So I don't know, I don't have
    ·9·   · · · A.· · I mean I, you know, it's hard,   ·9·   ·anything specific.· But, you know, I have
    10·   ·but that's certainly the big one where we   10·   ·the opportunity to ask you questions here
    11·   ·disagree on, you know, the reason that      11·   ·today and so if you do have any other
    12·   ·we're here.· You know in his paragraph      12·   ·disagreements with Dr. Davies opinions, I
    13·   ·44, for instance, he says that he doesn't   13·   ·kindly ask for you to let me know.· And
    14·   ·believe that the cited, that the provided   14·   ·we can go through it, you know, paragraph
    15·   ·references provide any information that     15·   ·by paragraph if you want.· This is just,
    16·   ·would impact a person of ordinary skills    16·   ·this is just the opportunity that I have
    17·   ·understanding of Claim 14.                  17·   ·and I have to ask.
    18·   · · · · · · And I would say that if, you     18·   · · · A.· · No, I mean the big deal is, is
    19·   ·know, the person of ordinary skill was      19·   ·that, you know, we disagree on what Claim
    20·   ·looking at a particular structure and       20·   ·14 says.· So I disagree with his
    21·   ·saying that it was an enantiomer, he        21·   ·interpretation.· I'm sure he disagrees
    22·   ·would find those, most, many of those       22·   ·with my interpretation.· But, you know, I
    23·   ·references being consistent with that       23·   ·don't see anything -- lurasidone.· I mean
    24·   ·structure.· But I, I don't know what else   24·   ·a lot of this is, you know, is
    25·   ·to say here.· I mean do you have a          25·   ·descriptive and I off the top, just


              DTI Court Reporting Solutions - Woodland Hills
   1-800-826-0277                                    www.deposition.com                                   YVer1f
Case 2:15-cv-00280-SRC-CLW Document 101-1 Filed 08/25/16 Page 32 of 32 PageID: 1487

                             STEVEN WORTH BALDWIN - 07/14/2016                      Pages 246..249
                                            Page 246                                           Page 248
    ·1·   · · · · · ·STEVEN WORTH BALDWIN              ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   ·looking at this right now, I don't have     ·2·   · · · A.· · And I disagree with his
    ·3·   ·any additional disagreements with him       ·3·   ·conclusion.
    ·4·   ·that I can see.· It doesn't mean that       ·4·   · · · Q.· · Okay.
    ·5·   ·they aren't there.· I just don't see        ·5·   · · · A.· · Okay?
    ·6·   ·them.· I'm not holding anything back.       ·6·   · · · Q.· · Okay.· And did you make a lot
    ·7·   · · · Q.· · Okay.                            ·7·   ·of notes?
    ·8·   · · · A.· · Okay.                            ·8·   · · · A.· · No, these are more like put
    ·9·   · · · Q.· · And that's fair.· I just have    ·9·   ·lines next to something to remind me to
    10·   ·to ask the question because we can't be     10·   ·read that again, you know, at some point
    11·   ·in a situation where you show up at court   11·   ·or I thought this was interesting. I
    12·   ·and you say, ah-ha, paragraph 55.           12·   ·didn't make, you know, handwritten. I
    13·   · · · A.· · Gotcha.                          13·   ·didn't write words.
    14·   · · · Q.· · Right, that's all.· Maybe if     14·   · · · Q.· · You didn't write he's wrong,
    15·   ·there's nothing that jumps out to you --    15·   ·how could he possibly do that, say that?
    16·   · · · A.· · Yeah.                            16·   · · · A.· · For the following reason, no,
    17·   · · · Q.· · -- when you read it or sitting   17·   ·I didn't.
    18·   ·here today, if that's the case just let     18·   · · · Q.· · Okay, fair enough.· Just want
    19·   ·me know?                                    19·   ·to be sure.
    20·   · · · A.· · There's nothing right now        20·   · · · · · · Do you know of Dr. Davies?
    21·   ·that, that I see.· Now of course I've       21·   · · · A.· · I'm aware, yes, I'm aware of
    22·   ·made notes on it and things like that       22·   ·Dr. Davies.· I've heard, I've heard of
    23·   ·which I don't have here.                    23·   ·him.· I have just, you know, just
    24·   · · · Q.· · Okay.                            24·   ·scientific reputation.
    25·   · · · A.· · And, you know, that could        25·   · · · Q.· · And have you met Dr. Davies?
                                            Page 247                                           Page 249
    ·1·   · · · · · ·STEVEN WORTH BALDWIN              ·1·   · · · · · ·STEVEN WORTH BALDWIN
    ·2·   ·refresh my memory.· But I don't see any     ·2·   · · · A.· · I don't believe so.· It's
    ·3·   ·going through here.· I'm not trying to be   ·3·   ·possible at some conferences or something
    ·4·   ·cute or coy.· I simply don't see anything   ·4·   ·like that, but I don't recall, you know,
    ·5·   ·other than the major disagreement that we   ·5·   ·having met him.
    ·6·   ·have.                                       ·6·   · · · Q.· · And when you say that you're
    ·7·   · · · Q.· · The big picture?                 ·7·   ·aware of Dr. Davies by scientific
    ·8·   · · · A.· · That's correct.                  ·8·   ·reputation, what do you mean?
    ·9·   · · · Q.· · The ultimate interpretation of   ·9·   · · · A.· · Well we publish, you know,
    10·   ·the claim?                                  10·   ·similar work, synthetic organic
    11·   · · · A.· · That's correct.                  11·   ·chemistry.· We make single enantiomers,
    12·   · · · Q.· · And when you first reviewed      12·   ·et cetera.· So I've read some of his
    13·   ·Dr. Davies' declaration and then you made   13·   ·papers.· You know, just, just -- he's a,
    14·   ·your notes, did -- was there something      14·   ·you know, he's a member of the community
    15·   ·that, anything that stuck out in your       15·   ·that I, that I move in and so it's
    16·   ·mind as, ah-ha, this is a big               16·   ·reasonable that, and Oxford is a
    17·   ·disagreement or was it really just          17·   ·reputable place and I have other, I've
    18·   ·ultimate disagreement as to what the        18·   ·had other friends.· I had a postdoc at
    19·   ·proper interpretation of the claim was?     19·   ·Oxford recently, so.
    20·   · · · A.· · It's, you know, it's the         20·   · · · Q.· · Would you say that Dr. Davies
    21·   ·latter.· His declaration to a large         21·   ·has a good reputation in the field?
    22·   ·extent is descriptive and basically         22·   · · · A.· · Yes.· Oh, yes.
    23·   ·describes what's in the patent and then     23·   · · · · · · MR. RATLIFF:· I'd like the
    24·   ·comes to a conclusion.                      24·   · · · court reporter to mark a multipage
    25·   · · · Q.· · Okay.                            25·   · · · document as Baldwin Exhibit Number


              DTI Court Reporting Solutions - Woodland Hills
   1-800-826-0277                                    www.deposition.com                                   YVer1f
